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                                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY




 FRED ZEMEL,on behalf of himself and all                 Civil Action No. 2:17-cv-03513-JMV-MF
 others similarly situated,

                       Plaintiff,                         NOTICE OF VOLUNTARY DISMISSAL
                                                                      WITHOUT PREJUDICE
           -against-

 AARP,INC. and JOHN DOES 1-25,

                       Defendant.




                   PLEASE TAKE NOTICE that plaintiff Fed Zemel hereby dismisses all claims as

against defendant AARP,Inc. without prejudice pursuant to Fed. R. Civ. P. 41(a)(l)(A)(i).

                                                  MARCUS ZELMAN,LLC
                                                  Attorneys for Plaintiff


                                                  By:/s Ari H. Marcus
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Dated: June 16, 2017




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